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                                       PETITION UNDER 28 U.S.C. § 2254 FOR WRIT OF
                                     HABEAS CORPUS BY A PERSON IN STATE CUSTODY

 United States District Court                                                  District:

 Name (under which you were convicted):                                                                           Docket or Case No.:



 Place of Confinement :        St C.. , \Ji L.                                                 Prisoner No.:

                                                     \~Tus\M\6h                                       34111~
 Petitioner (include the name under which you were convicted)                  Respondent (authorized person having custody of petitioner)
 T e.q UQJI\              L ' l2>-r6i0Y\                                 v.    Chavfe5 Wr-f fca,,,v13
 The Attorney General of the State of:
                                                                                                                                              ..c          (")

                                                                                                                                             ~         n
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                                                                   PETITION                                                                 z          ,..,.,:u
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                                                                                                                                           CJ1
                                                                                                                                                      n!':!
 1.            (a) Name and location of court that entered the judgment of conviction you are challenging:
                                                                                                                                         ;:           O..;;:
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                                                                                                                                                     :r
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                                                                                                                                                    "!>
                                                                                                                                                    u,
                                                                                                                                                    ('")




               (b) Criminal docket or case number (if you know):              ~o l 3-G.S- l5-l o~H, \D4d-, l'.ultd. l oL(o
 2.            (a) Date of the judgment of conviction (if you know):           :s{ U/\L a,.s--~, ~O \S
               (b)Dateofsentencing:        :fLl.}.1\-e__    ~~, J.DlS-
 3.            L,ngth of sentence,     ( Ol( \     ( JS --Ip) \ 0 '-l d. ( S '( r:S)                 lOtJ.0 ~rS)
 4.            In this case, were you convicted on more than one count or of more than one crime?                ~;                0    No

 5.            Identify all crimes of which you were convicted and sentenced in this case:             ~ Ol3-G:;S- l$'-         \Ol{b -
                obs\,n.AC.,tilfrl 0£ "SuS\-te,<._) ao13- C:iS-lS- lo<..(( - Mu»::d-vq
                CUAd aol3-GS-\5- \04J J?oss. 6t: we.cupOVJ dwr1~ Cn-,,ywi
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                aot 3-GS-lS-- IOL!D l \0 \\,1($) \ \ D4 l ( d-0:'l;cs) 1 ~ lo YJ (s-~rs)
                Wus cuAd. is                   k         ~c.R...                   £6v:: eocio ca~,

 6.            (a) What was your plea? (Check one)

                                       l\V'(f)        Not guilty               0     (3)       Nolo contendere (no contest)

                                       0    (2)       Guilty                   0     (4)       Insanity plea
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               (b) If you entered a guilty plea to one count or charge and a not guilty plea to another count or charge, what did

               you plead guilty to and what did you plead not guilty to?




               (c) If you went to trial, what kind of trial did you have? (Check one)

                             ~ry        O     Judge only

 7.            Did you testify at a pretrial hearing, trial, or a post-trial hearing?

                             ~s         0     No

 8.            Did you appeal from the judgment of conviction?

                             ~          0     No

 9.            If you did appeal, answer the following:

               (a) Name of court:      56 Ul:t(l Ll1X'6l l vty             L&uJ+ () ~                A Q\J-f41 ls
               (b) Docket or case number (if you know):         ___,f)""-'-"o«-l.,_._S_,,_-_-__,,,.0'-""0.....l._Y_J__J<JL_]....,___ _ _ _ _ _ _ _ _ __

               (c) Result:                A}t: I.b 'iY\G D
               (d) Date ofresult (if you know):        Au..§ \..A :-1)-r- d- (p          1   ao I7
               (e) Citation to the case (if you know):              -
                                                                --------------------
               (f) Grounds raised:      Ar p<l,\ Cuttt: \::, -t-vJ-, ·H~cl
                                                          to \ VV\ VV\l,Ut\] ~ WQVl,\
               ~oSec,uJ,15\'.J t15r Mku(dec t,uA-Cl-e&-- tkL )?ro\--e..cJj frl o t ~ 5
                WA cl Propevb( 14-c.t     :2,) Th L f-r,cJ C.6Lu.d-- e)ir:ed LV)
                d-tU\{ iV\j 14 ~-el lOWJ t ~ VVlO-n Ob hrr d. 1v- cc kd Ve,y'ct i ct-
                W~-t. :\:hJL LUAAI Sf L-Lt--e_d (:)/Id~ u ~6],0 e.d tt-tcJ- vtPW (~
               U,«±: -Ht&- dtt-e.etkd t V\ lawful S<l ~de_~, O»\d t-kQ}
                Af~\cwd-- WQ':> \Niti-tPJ,J: ft:tult IV\ 'Dr,varvs 6V\ fk diffitu!hf(
               (g) Did you seek further review by a higher state court?              0       Yes     O     No

                         If yes, answer the following:

                         (1) Name of court:

                         (2) Docket or case number (if you know):

                         (3) Result:



                         (4) Date of result (if you know):
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                        (5) Citation to the case (if you know):

                        (6) Grounds raised:




               (h) Did you file a petition for certiorari in the United States Supreme Court?        0    Yes
                        If yes, answer the following:

                        (1) Docket or case number (if you know):

                        (2) Result:



                        (3) Date ofresult (if you know):

                       (4) Citation to the case (if you know):

 10.       Other than the direct appeals listed above, have you previously filed any other petitions, applications, or motions

           concerning this judgment of conviction in any state court?                   ✓Yes         O   No

 11.       If your answer to Question 10 was "Yes," give the following information:

           (a)         (l)Nameofcourt:           toYY\mJb           7)\{.,(AS ( Cc,( lti:l5J.0 L~J
                                                             l l5 -L'\)- lS-- 37
                       (2) Docket or case number (if you know):

                       (3)Dateoffiling(ifyouknow):   Tue,.~,_ /£ d--0 l]                        1

                       (4) Nature of the proceeding:  'Pos±:-Crs1rtV(Ch 0V) \-'¾ e..\ l (,~
                       (5) Grounds raised:    To -e tte.~h \le A-ssiS±CUcl LP Ot U'JLUG~,,{
                             Vio(al-lfuDt olu..L j)roCLSS           -
                              N~\i / Af kv- J) tSC..OVu Gvi di 6L\ Ul-4 ta ud-: \Qdc
                             3u bye.ct Mo..tk-u- o~ ::fu .c is di c,-\-1 ®                           ,




                       (6) Did you receive a hearing where evidence was given on your petition, application, or motion?

                         0 Yes        ilJ"""No
                       (7) Result:

                       (8) Date ofresult (if you know):
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               (b) If you filed any second petition, application, or motion, give the same information:

                        (I) Name of court:

                        (2) Docket or case number (if you know):

                        (3) Date of filing (if you know):

                        (4) Nature of the proceeding:

                        (5) Grounds raised:




                        (6) Did you receive a hearing where evidence was given on your petition, application, or motion?

                          D Yes         ✓No
                        (7) Result:

                        (8) Date ofresult (if you know):

               ( c) If you filed any third petition, application, or motion, give the same information:

                        (I) Name of court:

                        (2) Docket or case number (if you know):

                        (3) Date offiling (if you know):

                        (4) Nature of the proceeding:

                        (5) Grounds raised:
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                        (6) Did you receive a hearing where evidence was given on your petition, application, or motion?
                            0 Yes       Q""No

                        (7) Result:

                        (8) Date ofresult (if you know):

               (d) Did you appeal to the highest state court having jurisdiction over the action taken on your petition, application,
               or motion?

                        (I) First petition:     0 Yes           ~No
                        (2) Second petition:    0 Yes           0"No
                        (3) Third petition:     0 Yes          ~No

               (e) If you did not appeal to the highest state court having jurisdiction, explain why you did not:

               T d.idV\or gpp.ecJ becau~ 1: WQS (\-R)Jey Q~~~q
               6-._ h.LCA.>ri v.:5 t:z? \9.-L h-ecu::ol Atk..v: WCAi~~~s ovw l'-1.c fflr~:r~espbna\
 12.       For this petition, state every ground on which you claim that you are being held in violation of the Constitution,
           laws, or treaties of the United States. Attach additional pages if you have more than four grounds. State the facts
           supporting each ground.

           CAUTION: To proceed in the federal court, you must ordinarily first exhaust (use up) your available
           state-court remedies on each ground on which you request action by the federal court. Also, if you fail to set
           forth all the grounds in this petition, you may be barred from presenting additional grounds at a later date.

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 (a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):


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-\-h V'~~ C\UJ...3T\D:b5 t\.£ b:-:io..l 0\- \t-uL W tt½RSSeS,



                                                                       }? (, )5
(b) If you di not exhaust your state remedies on Ground One, explain why:                T       ~ l \-e_ol ~
 ~ \I? \ (C,Q,t f lJV\ d--- t-11/\1\LS > Cul\ cl vJ <'Dk t-w_ (__ol{ clon
 (.m ~ c.Le.v(( 0£ Co uxf-., Tu~ c.\ ede \ V\~d \/\AL \::<Aal--
 & ~¼--wN-j C.,1.o\.e.>J0 \s o\£,~ had \::c t-d\ ~ \.illtl2,,1C\
 \h c_c.,x w5ulc! \f.).R_ (ol\ecL \ \'- oJ- cu\, I wa'1 kd. ovw
fA. '-\~CM:' WO-~ ~ 1~ @ Y\&.o..N:- WOV\A tk V-\-Gi O~CD..,. No~, 1/\j \
 Iu)v--ok ~ v\G' ') ott\Q o..~\c.,IA_S \'Z> mve, o..,, w.a.x-'l~ +o \o.e_
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 (c)           Direct Appeal of Ground One:

               ( 1) If you appealed from the judgment of conviction, did you raise this issue?            0    Yes

               (2) If you did not raise this issue in your direct appeal, explain why:   N·<:.:vf}/'          Q ~-ol e..d
                Q    :p CB b-e CJ.AC~ ttt§ '
 ( d) Post-Conviction Proceedings:

               (1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state trial court?

                           ~es          0      No

               (2) If your answer to Question (d)(l) is "Yes," state:

               Type of motion or petition:

                                                                  (le 1=-a:b c ~
               Name and location of the court where the motion or petition was filed:       t    O

               t61.,u:to~            (lJVVlQV\6\A f{eq_s Wal ~lorro Sc Lr
               Docket or case number (if you know):      _._('l)-"<----L--+P--___,,_{=S-_-_3__,£,.j~---------------
               Date of the court's decision:        N e....v {.,.('" A-tforcled D. h.e.cui-~ V'-3                   l


               Result (attach a copy of the court's opinion or order, if available):




               (3) Did you receive a hearing on your motion or petition?                                 0    Yes

           (4) Did you appeal from the denial of your motion or petition?                                0    Yes

           (5) If your answer to Question (d)( 4) is "Yes," did you raise this issue in the appeal?      0    Yes

           (6) If your answer to Question (d)( 4) is "Yes," state:

           Name and location of the court where the appeal was filed:



           Docket or case number (if you know):
                                                                                 7
                                                                                     7
           Date of the court's decision:

           Result (attach a copy of the court's opinion or order, if available):




           (7) If your answer to Question (d)(4) or Question (d)(S) is "No," explain why you did not raise this issue:
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 (e) Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies, etc.) that you have

 used to exhaust your state remedies on Ground One:




 GROUND TWO:



 (a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

f\f& -W -\y~oJ Df +it·\s ea~, New                                                         i;v\d:lnCJL        tA~ u.f




 (b) If you did not exhaust your state remedies on Ground Two, explain why:                   -rl-i.L ftt{rry~ G-evif.vQ/
fl Wu"               t-tSftmd             fD    7cP-i '¾R{2 lrCA}; &1                     <




 (c)           Direct Appeal of Ground Two:

               ( 1) If you appealed from the judgment of conviction, did you raise this issue?           D    Yes

               (2) If you did !lQ! raise this issue in your direct appeal, explain why:




 (d)           Post-Conviction Proceedings:

               (1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state trial court?

                           ~            D No
               (2) If your answer to Question ( d)( I) is "Yes," state:

               Type of motion or petition:      -~_!__:::L:c:_i_K_J__________________________
                                                                                Co Ilel-:zrV\ l6LUAb{
               Name and location of the court where the motion or petition was filed:

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             l D ( ~!Uc5v\ S\- Wc.t,l~-looro~---~----
               Docket or casenumb~0fycm know):            .!:l....:8,,,,_-__,,C.,""-l'p"----___:.l_:::S,c__-_3_0_._______________
               Date of the court's decision:
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               Result (attach a copy of the court's opinion or order, if available):


                                         ---------------~-----·

               (3) Did you receive a hearing on your motion or petition?                                 0   Yes        IJJ/No
               (4) Did you appeal from the denial of your motion or petition?                            0   Yes       ~No

               (5) If your answer to Question (d)(4) is "Yes," did you raise this issue in the appeal?   0   Yes       Et""No
               (6) If your answer to Question (d)(4) is "Yes," state:

               Name and location of the court where the appeal was filed:



               Docket or case number (if you know):

               Date of the court's decision:

               Result ( attach a copy of the court's opinion or order, if available):




               (7) If your answer to Question (d)(4) or Question (d)(5) is "No," explain why you did not raise this issue:




 (e)           Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies, etc.) that you

               have used to exhaust your state remedies on Ground Two :



                ---------·-----------------------------------




 GROUND~HREE=.      (ruu::-\- \Qck 5Lloj-£d: MoJ±<x= ~f
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 0 u.c \sd. \c., ti 6V\ , be ca u ~ ~ ' :b l5b,Q,,tr Ms nwer l nd, ch cl                                                         t'.ffr"' ~hkq~
 (a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):



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 (c)           Direct Appeal of Ground Three:

               ( 1) If you appealed from the judgment of conviction, did you raise this issue?            0   Yes      GY°No

               (2) If you did not raise this issue in your direct appeal, explain why:      ~cl (lVvl± ~
               ~ ,cl        ..\-har          ~ W 61,Ll o{                 vt o t- V"'g , S-e__ -/ti ,S f 55 u-e_ ,, vi

 (d)           Post-Conviction Proceedings:

               (1) Did you raiseyis issue through a post-conviction motion or petition for habeas corpus in a state trial court?

                           ✓v"es        O No

               (2) If your answer to Question ( d)( 1) is "Yes," state:

               Type of motion or petition:          f+ff \ c._cJ: lYY\ P:zrc: ?aSt:USh\fi( iJ.GV\Tu Ce&
                                                                l          j
               Name and location of the court where the motion or petition was filed:        C-6( l-£A:J5\A (' IT\A.U,k'{
               C.6Luct ot            L6]/V)vYt6v\ }?lf.a "::>
               Docket or case number (if you know): __._\~_,,_-_C..__,p~-__,lc.::S-=--.-_3,=_5'+----------------
               Date of the court's decision:             .----

               Result (attach a copy of the court's opinion or order, if available):




                                                                                                                       ~--
               (3) Did you receive a hearing on your motion or petition?                                  0   Yes

               (4) Did you appeal from the denial of your motion or petition?                             0   Yes

               (5) If your answer to Question (d)( 4) is "Yes," did you raise this issue in the appeal?   0   Yes

               (6) If your answer to Question (d)(4) is "Yes," state:

               Name and location of the court where the appeal was filed:



               Docket or case number (if you know):

               Date of the court's decision:

               Result (attach a copy of the court's opinion or order, if available):
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                     (7) If your answer to Question (d)(4) or Question (d)(S) is "No," explain why you did not raise this issue:




          (e)        Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies, etc.) that you

                     have used to exhaust your state remedies on Ground Three:

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   t;.~                  } A) v'1olo__oh& ofw\--d--le.cl.
          GROUND FOUR£Jl?e:h6ITill<L!/'
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      T<'0Se.c1Ji m, ~ rowel f..K' U-v1de» }-}vtcd:ifu 0£ veusOY\s :tf½fb-~ U\<:.f;
          (a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

      ?rot-e..Lii CY\ 9~ P-e.rSCYt s Q.v\ol Prope.,-h{ v\c{: Wo\/'i oo i ~U,v\t hf
        h) o..           -v~   uJho u~s d~G<.d\~ ~v-eg__ whil{., V'e.Md\/ivtj l1N\.o~
      -'2r-6JNI ~,s ch..uclltVL5 CUAd Wlt\o u.s.e s ol-e..o.ol l~ hYC(Q_ \i\1~ h.L
       'f'-e..Q.Sov\a.J.a k\ \;)-e_ \, -ev:e.s d: ls V\:f c -escl ~ tn ?v-~,lev\k= ,VY\W\i v ~
      d,e~!ITT" ~H<l~~ c~~'?<l-;h~ is~~~
      1 VV:                I   k\-6V\/\ut=                                             \AAu,Vi
                                                                                       undtPre~
      r-\c.. t b.R..c..a,uS,Q ltLL U.A~ w i ~ 6u l-:fa.,u l+ I V\. bri Vis (V\j <Th"\ tlu d i(+t'<J.{j +i
      (b) If you did not exhaust your state remedies on Ground Four, explain why: bv--6Ullcl # '-J (~)± ( B)
     <7cl+bmu ~i \u:l '\)c_~ ~ , WLH,, ~ (o((el-m0 ~
      Cru.LJCt 00                 CtrV\1\/V\0}1              Ple_ro,, 3We: J + ~                                     ~0CQJ


          (c)        Direct Appeal of Ground Four:                                              ~ (' 6Utl cl il=    c./ ( (3)
                     ( 1) If you appealed from the judgment of conviction, did you raise this issue?
                                                                                                               fiV'Ye.s 0          No

                     (2) If you did not raise this issue in your direct appeal, explain why:




       (d)           Post-Conviction Proceedings:

                     (1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state trial court?
                                 ~           ~-
                     (2) If your answer to Question (d)( 1) is "Yes," state:

                     Typeofmotionorpetition:             fr:P:::P. ~            Y( ~
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               Name and location of the court where the motion or petition was filed:        ~( {      f~ ~
                loUvf-o~                 Co-rnmlfVI             !Ieast hb-1/erbonJ .s,<. -1,9v8r
               Docket or case number (if you know): ~'~~--c_;-----\t?--~(_S_-_3=-c~(______________
               Date of the court's decision:

               Result (attach a copy of the court's opinion or order, if available):




               (3) Did you receive a hearing on your motion or petition?                                   0   Yes

               (4) Did you appeal from the denial of your motion or petition?                              0   Yes

               (5) If your answer to Question ( d)( 4) is "Yes," did you raise this issue in the appeal?   0   Yes

               (6) If your answer to Question ( d)(4) is "Yes," state:

               Name and location of the court where the appeal was filed:



               Docket or case number (if you know):

               Date of the court's decision:

               Result (attach a copy of the court's opinion or order, if available):



               -~------~----



               (7) If your answer to Question (d)(4) or Question (d)(S) is "No," explain why you did not raise this issue:




 (e)       Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies, etc.) that you

           have used to exhaust your state remedies on Ground Four:
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  13.          Please answer these additional questions about the petition you are filing:

               (a)       Have all grounds for relief that you have raised in this petition been presented to the highest state court

                         havingjurisdiction?     ~-             ~
                         If your answer is "No," state which grounds have not been so presented and give your reason(s) for not

                         presenti~gthem:        B(01,u,,,o!5 - l, ~ '3, ''B~~ 5..R. H:Uj                                      Ww-e
                          i"Gl r 5>g_cl        , !A fl,µ         ?c K          ttl-pp 1·, ¼.b m , CuAd 1lu...

               (b)       Is there any ground in this petition that has not been presented in some state or federal court? If so, which

                         ground or grounds have not been presented, and state your reasons for not presenting them:

                         6rFkvcls /, ;;., ¾013. fua.us..e. f&.1} weve                                                     rQ~Sed
                         ,°'rl ftu.     PcR &pp!,ccd;&, <5/cJ-e                           14G      /11,ev,e,v    h/ec/q r~Je
                          -Hz.e,n_ 6 .
 14.           Have you previously filed any type of petition, application, or motion in a federal court regarding the conviction

               that you challenge in this petition?       0     Yes        ~
               If"Yes," state the name and location of the court, the docket or case number, the type of proceeding, the issues

               raised, the date of the court's decision, and the result for each petition, application, or motion filed. Attach a copy

               of any court opinion or order, if available.




 15.           Do you have any petition or appeal now pending (filed and not decided yet) in any court, either state or federal, for

               the judgment you are challenging?          0     Yes        ~
               If "Yes," state the name and location of the court, the docket or case number, the type of proceeding, and the issues

               raised.
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  16.          Give the name and address, if you know, of each attorney who represented you in the following stages of the

               judgment you are challenging:

               (a) At preliminary hearing:     (v'l c:J-h.Lw ,Le.t/... IAJ aJi /(e.,y'
               s l q.          N,    lutcts s tr~ woJtGJ\o6(0 s,c, :t<t\£ er&:
                                          Ma.±v:f, lXS G, { Cl-ia_p I, V\
               (b) At arraignment and plea:

               ~5 l {          W•    /VlQin 5.\-             tQ(~iC< S,C ;l-7:;l...()3
               (c) At trial:          fV\, ~                  L-e...e...., WA.J. {Cll,v
                 3L'1.         rv.   Luceu..1. sh-@ Wcu{-c.v!oaro                                   5, t, d/</'lik
               (d) At sentencing:      /Vl ~                      ~    Wa...A, (CLv=
               3( 1.           Nt Lutcu.t jtre.J-                     WaJ{:vla,yo 5rC,                     ~7C/'if8:
               (e)Onappeal:          :S:.OhVl       S{v-6Vvt {SC.LTD)
               7r De :Box:           ll 589         C,b(u..vvJ?(Q, 3 C ~1~ {-(s8'5
               (t) In any post-conviction proceeding:                   ~
                                                                 -7~--------
               (g) On appeal from any ruling against you in a post-conviction proceeding:




 17.           Do you have any future sentence to serve after you complete the sentence for the judgment that you are

               challenging?            ~es          D       No

               (a) If so, give name and location of court that imposed the other sentence you will serve in the future:




               (b) Give the date the other sentence was imposed:         tl-prr L 3 ~,             ;).o/ 7
               (c) Give the length of the other sentence:        -'d:wc......_'(l-e..~tX.N::~~5~--------------
               (d) Have you filed, or do you plan to file, ~tition that challenges the judgment or sentence to be served in the

               future?                 D Yes        ~No

 18.           TIMELINESS OF PETITION: If your judgment of conviction became final over one year ago, you must explain

               why the one-year statute of limitations as contained in 28 U.S.C. § 2244( d) does not bar your petition.*

               rpefifz~ (//-eo{ PcR w,ft, tfu: Co/Id&~
                         C<lUY f Ci: f fu~ 7) /y--ecf /4--fJPeqj,
               C(4(- /( 0 f                                                                           u;q i /<;of          /!tn-,
               14fffrCUYj G~1ev·ctl re5/<fhJ:.R.. dV.ev q                                              Y~
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                      ,4,--- cJ]/Lr           fl       -ea_y
                 /41( Ht          !ti; s tP-el-1 f-7 'efb               I 'v1.




 * The Antiterrorism and Effective Death Penalty Act of 1996 ("AEDPA") as contained in 28 U.S.C. § 2244(d) provides in

 part that:

               ( 1)      A one-year period of limitation shall apply to an application for a writ of habeas corpus by a person in
                         custody pursuant to the judgment of a State court. The limitation period shall run from the latest of -

                         (A)      the date on which the judgment became final by the conclusion of direct review or the expiration
                                  of the time for seeking such review;

                         (B)      the date on which the impediment to filing an application created by State action in violation of
                                  the Constitution or laws of the United States is removed, if the applicant was prevented from
                                  filing by such state action;

                         (C)      the date on which the constitutional right asserted was initially recognized by the Supreme Court,
                                  if the right has been newly recognized by the Supreme Court and made retroactively applicable to
                                  cases on collateral review; or

                         (D)      the date on which the factual predicate of the claim or claims presented could have been
                                  discovered through the exercise of due diligence.
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                       (2)   The time during which a properly filed application for State post-conviction or other collateral review with
                             respect to the pertinent judgment or claim is pending shall not be counted toward any period of limitation
                             under this subsection.

         Therefore, petitioner asks that the Court grant the following relief:      '1-.vv, 11,1(,,{;Vl ,-¼ -h,-<JvvJ              7?r?{)e,CWf d'i:J
         Lu1d-4c ~                'lrokcfln--, af /4?r-5'Jh5 a+--td ?n;f2erfy,¢cf ~ in -/0-
         illkv-ncdt11e, ftiCL{ f4is uruvf ,~55c-<.e_ ~ Ovol-u= oPAcrp~,'lkl o!'hr'_s
         or any other relief to which petitioner may be entitled. U'Y7 Vi· C h t'n 5 r
         A heeur;h_J fv-v 1V',e,,u,; Tvt'cx.A, uv
        rJ.eu; 'y--,/a_,-(

                                                                                   Signature of Attorney (if any)




         I declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and correct and that this Petition for

         Writ of Habeas Corpus was placed in the prison mailing system on            I/( 8/J J                   (month, date, year).




        Executed (signed) on
                                     //13 /11                  (date).




                                                                                       Signature of Petitioner

        If the person signing is not petitioner, state relationship to petitioner and explain why petitioner is not signing this petition.
